Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
10/27/2017 01:11 AM CDT




                                                          - 500 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                        STATE EX REL. COUNSEL FOR DIS. v. HOCH
                                                   Cite as 297 Neb. 500



                          State     of   Nebraska ex rel. Counsel for Discipline
                                of the      Nebraska Supreme Court, relator,
                                         v. R ichard H. Hoch, respondent.
                                                      ___ N.W.2d ___

                                           Filed August 11, 2017.   No. S-17-588.

                    Original action. Judgment of disbarment.

                 Heavican, C.J., Wright, Miller-Lerman, Cassel, and
               Stacy, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surrender of
               license filed by respondent, Richard H. Hoch, on June 5, 2017.
               The court accepts respondent’s voluntary surrender of his
               license and enters a judgment of disbarment.

                                  STATEMENT OF FACTS
                  Respondent was admitted to the practice of law in the State
               of Nebraska on July 2, 1964. On March 3, 2016, respondent
               filed a voluntary surrender of license to practice law, in which
               he stated that on August 13, 2016, he received notice from the
               Counsel for Discipline of an overdraft on his trust account.
               He admits that he misapplied client funds being held in his
               trust account and used them to cover office expenses, in vio-
               lation of Neb. Ct. R. of Prof. Cond. § 3-501.15. Respondent
               stated that he freely, knowingly, and voluntarily chooses
               not to contest the truth of the suggested allegations made
                             - 501 -
           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
             STATE EX REL. COUNSEL FOR DIS. v. HOCH
                        Cite as 297 Neb. 500
against him. He also stated that he freely, knowingly, and vol-
untarily surrenders his privilege to practice law in the State of
Nebraska; waives his right to notice, appearance, or hearing
prior to the entry of an order of disbarment; and consents to
the entry of an immediate order of disbarment.

                          ANALYSIS
   Neb. Ct. R. § 3-315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3-315 of the disciplinary rules, we find that
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth of
the suggested allegations made against him. Further, respond­
ent has waived all proceedings against him in connection
therewith. We further find that respondent has consented to
the entry of an order of disbarment.

                        CONCLUSION
   Upon due consideration of the court file in this matter, the
court finds that respondent has stated that he freely, know-
ingly, and voluntarily admits that he does not contest the sug-
gested allegations being made against him. The court accepts
respond­ent’s voluntary surrender of his license to practice
law, finds that respondent should be disbarred, and hereby
orders him disbarred from the practice of law in the State of
                            - 502 -
          Nebraska Supreme Court A dvance Sheets
                  297 Nebraska R eports
            STATE EX REL. COUNSEL FOR DIS. v. HOCH
                       Cite as 297 Neb. 500
Nebraska, effective immediately. Respondent shall forthwith
comply with all terms of Neb. Ct. R. § 3-316 (rev. 2014) of
the disciplinary rules, and upon failure to do so, he shall be
subject to punishment for contempt of this court. Accordingly,
respondent is directed to pay costs and expenses in accordance
with Neb. Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and
Neb. Ct. R. §§ 3-310(P) (rev. 2014) and 3-323 of the disci-
plinary rules within 60 days after an order imposing costs and
expenses, if any, is entered by the court.
                                      Judgment of disbarment.
   K elch and Funke, JJ., not participating.
